Case 2:20-cv-05024-AB-E Document 32 Filed 04/21/21 Page 1 of 2 Page ID #:144



 1 SO. CAL. EQUAL ACCESS GROUP
   Jason J. Kim (SBN 190246)
 2 Jason Yoon (SBN 306137)
   101 S. Western Ave., Second Floor
 3 Los Angeles, CA 90004
   Telephone: (213) 252-8008
 4 Facsimile: (213) 252-8009
   scalequalaccess@yahoo.com
 5
     Attorneys for Plaintiff, COLTON BRYANT
 6

 7

 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   COLTON BRYANT,
12
                                               Case No.: 2:20-cv-05024 AB (Ex)
                Plaintiff,
13
                                              JOINT STIPULATION FOR
14        vs.                                 DISMISSAL PURSUANT TO
                                              FEDERAL RULE OF CIVIL
15 J SKY INVESTMENT II, INC D/B/A             PROCEDURE 41(a)(1)(A)(ii)
16 BNC COIN OP LAUNDRY; DBF 1,
   LLC; DONG IL PARK D/B/A COIN-
17 OP-LAUNDRY; THE NACKOUD

18 BROTHERS LLC; DOES 1 to 10,
19
                Defendants.
20

21

22

23

24

25

26
27

28


                        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
Case 2:20-cv-05024-AB-E Document 32 Filed 04/21/21 Page 2 of 2 Page ID #:145



 1         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
 2   Attorneys for Plaintiff COLTON BRYANT (“Plaintiff”) and Defendants DONG IL
 3   PARK D/B/A COIN-OP-LAUNDRY and THE NACKOUD BROTHERS LLC
 4   stipulate and jointly request that this Court dismiss, with prejudice, the above-
 5   captioned action, in its entirety. Each party shall bear his or its own costs and
 6   attorneys’ fees.
 7

 8                                             Respectfully submitted,
 9

10   DATED: April 21, 2021 SO. CAL. EQUAL ACCESS GROUP
11

12                                      By:      /s/ Jason J. Kim
                                               Jason J. Kim
13
                                               Attorneys for Plaintiff
14

15
     Dated: April 21, 2021              TABATABAI & MIYAMOTO, APC
16

17
                                               By: ___/s/ Richard Miyamoto________
18                                             Richard Miyamoto
19
                                               Attorney for Defendants
                                               DONG IL PARK D/B/A COIN-OP-
20                                             LAUNDRY and THE NACKOUD
21
                                               BROTHERS LLC

22                      Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
23         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Jason J. Kim, do attest that all
24   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
25   content and have authorized the filing.
26
27   Dated: April 21, 2021                        By: /s/ Jason J. Kim
                                                      Jason J. Kim
28

                                                   1
                            JOINT STIPULATION FOR DEFENDANT WITH PREJUDICE
